         Case 1:07-cv-12056-PBS Document 34 Filed 10/24/07 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA             )
                                     )
v.                                   )                      DOCKET NO.: 06-10427-PBS
                                     )
JEFFREY SHIELDS                      )


UNITED STATES OF AMERICA             )
                                     )
v.                                   )                      DOCKET NO.: 06-10449-PBS
                                     )
CHARLES PEAVEY                       )


           OPPOSITION TO GOVERNMENT’S MOTION FOR ORDER
         TO CONDUCT ADDITIONAL PSYCHOLOGICAL EXAMINATION

       Defendants respectfully submit the following opposition to the government’s motion to

order a psychological examination by a Bureau of Prisons (“BOP”) employee, Shawn Channell,

Ph.D. The government’s reliance on 18 U.S.C. §§ 4247(b) and 4248(b) (“the Act”) as grounds

for its request is misplaced and the motion should be denied.

       First, the Act does not authorize appointment of an expert by the Court at the instigation

of the government.

       Second, even if the order the government seeks were authorized under the Act (it is not),

Channell is not appropriate for court appointment as an independent or neutral examiner in these

matters. As a BOP employee, Channell lacks the institutional independence necessary to ensure

impartial conclusions, due process, and public confidence in the proceedings. Moreover, Channel

lacks substantive qualifications to assist the Court with a sexual dangerousness determination,

particularly in comparison to the independent experts whom the Court has already appointed .

       Finally, even if this Court were to grant the government’s motion (it should not), the
         Case 1:07-cv-12056-PBS Document 34 Filed 10/24/07 Page 2 of 7




defendants cannot be required to submit to personal examination or interview by Channell, a

representative of the very government entity that has already sought to commit them.

                                            Argument

I.     THE ACT DOES NOT AUTHORIZE APPOINTMENT OF CHANNELL AT THE
       GOVERNMENT’S REQUEST .

        “[S]tatutory interpretation always starts with the language of the statute itself.” Stowell

v. Ives, 976 F.2d 65, 69 (1st Cir. 1992) (internal citations and quotation marks omitted). Here,

the language of the Act unambiguously demonstrates that it does not authorize the appointment

of an expert requested by the government. The Act provides, in pertinent part:

       Prior to the date of the hearing, the court may order that a psychiatric or
       psychological examination of the defendant be conducted, and that a psychiatric
       or psychological report be filed with the court, pursuant to the provisions of
       section 4247(b) and (c).

18 U.S.C. § 4248(b); and

       A psychiatric or psychological examination ordered pursuant to this chapter shall
       be conducted by a licensed or certified psychiatrist or psychologist, or, if the court
       finds it appropriate, by more than one such examiner. Each examiner shall be
       designated by the court, except that if the examination is ordered under section
       4245, 4246, or 4248 . . . upon the request of the defendant an additional examiner
       may be selected by the defendant.

18 U.S.C. § 4247(b) (emphases added).

       The second sentence of section 4247(b), referring specifically to section 4248 and two

other commitment statutes, makes clear that the government is not authorized to move for the

appointment of its examiner. First, it makes the “request of the defendant” the triggering

mechanism for the appointment of “an additional examiner,” thereby limiting the circumstances

under which one may be appointed. Id. Second, by specifying that the additional examiner is to



                                                 2
         Case 1:07-cv-12056-PBS Document 34 Filed 10/24/07 Page 3 of 7




be “selected by the defendant,” the sentence makes it clear that the government is denied any role

in the selection. Id. The language of the Act therefore does not authorize the appointment of the

examiner requested by the government.

       In contrast, where Congress intended that the government be permitted to request a court-

appointed expert, it said so expressly. See 18 U.S.C. § 4242(a) (assertion of insanity defense);

contrast 18 U.S.C. §§ 4241(b) (competency), 4243(b) (post-NGI hospitalization), 4244(b) (post-

conviction, pre-sentencing hospitalization), 4245(b) (prisoner hospitalization), 4246(b) (pre-

release hospitalization). Thus, when the commitment statutes of Title 18 are read together, it is

clear that Congress deliberately denied the government the opportunity to move for an additional

examiner in a section 4248 proceeding. This Court should not undermine Congress’ manifest

intent by granting the government’s motion. See generally Zadvydas v. Davis, 533 U.S. 678

(2001) (court may amend statute by adding provisions only when doing so would not contravene

congressional intent).

       The Supreme Judicial Court’s analysis of the Massachusetts commitment scheme for

sexually dangerous persons is also persuasive in this situation. In Commonwealth v. Poissant,

443 Mass. 558 (2005) the court held that Mass. Gen. Laws ch. 123A, § 13(b), providing for

sexual dangerousness examination by two “qualified examiners,” does not permit appointment of

an additional expert requested by Commonwealth:

       The Commonwealth contends that it is disadvantaged because, while the
       defendant can have an expert to advocate his position, the qualified examiners are
       not agents of the district attorney’s office and thus there is no advocate for the
       government. Whether the qualified examiners are agents of the district attorney is
       irrelevant to the issue before us. The Legislature has not contemplated a typical
       advocacy proceeding here. The sexually dangerous person proceeding presents a
       unique situation: the defendant is incarcerated beyond the length of his mandated


                                                 3
          Case 1:07-cv-12056-PBS Document 34 Filed 10/24/07 Page 4 of 7




        sentence because of his sexual dangerousness . . . . For this atypical situation, the
        Legislature has seen fit to impose unusual requirements. The statute envisions
        that the defendant will be examined by two qualified examiners and gives the
        Commonwealth access to the expert testimony of those qualified examiners. That
        the qualified examiners conclude that the defendant is no longer sexually
        dangerous does not permit the Commonwealth to conduct further examination of
        the defendant over his objection.

Id. at 564.

II.     CHANNELL’S EMPLOYMENT BY BOP AND LIMITED RELEVANT EXPERIENCE RENDER
        HIM INAPPROPRIATE AS A COURT APPOINTED EXPERT IN THESE MATTERS.

        In various contexts, courts have recognized a distinction between experts

enlisted by the court to serve as objective providers of information and analysis, and experts

appointed by the court at the request of one of the parties, whose task it is to advance the interests

of that party. See Smith v. McCormick, 914 F.2d 1153, 1157-59 (9th Cir. 1990) (appointment of

neutral psychiatrist who reported directly to court did not satisfy capital defendant’s due process

right to expert assistance in developing and presenting mitigation evidence); United v. Fratus,

530 F.2d 644, 649 (5th Cir. 1976) (under 18 U.S.C. § 4244 role of court appointed experts is to

provide objective information and analysis to court, while under 18 U.S.C. § 3006A(e) it is to

serve the defendant’s interests); Poissant, 443 Mass. at 564 (qualified examiners under

Massachusetts sex offender commitment statute are independent and not intended to be

advocates for either party).

        The Act provides for the possible appointment of an initial court-appointed expert as well

as an additional expert selected by the defendant. See 18 U.S.C. §§ 4248(b) & 4247(b). Any

examiner appointed by the court must provide a report to the court and to both parties. See 18

U.S.C. § 4247(c). Thus, Congress’ evident intent was for the Court to appoint independent



                                                  4
          Case 1:07-cv-12056-PBS Document 34 Filed 10/24/07 Page 5 of 7




experts for the court who must share their conclusions with all concerned. Compare Poissant,

443 Mass. at 564.

        Assuming arguendo that the government is entitled to move for an examiner at all (it is

not), Channell is not an appropriate choice to serve as a neutral expert for this Court.

        Channell is employed as a forensic psychologist by the Bureau of Prisons, the very

institution that has already certified to the Court its determination that defendants are “sexually

dangerous” and therefore subject to commitment under the Act. Even if Channell sincerely

intended to conduct a fresh and neutral review, there is unacceptable risk that an unconscious

bias in favor of his employer might color his conclusions or, at least, could create an appearance

of bias that would undermine public confidence in these proceedings.

        In addition, Channell’s specific qualifications to assist this Court with a determination of

sexual dangerousness are markedly weak in comparison to the experts whom the Court already

has appointed. While Channell apparently has attended continuing education programs in sex

offender commitment and has participated in risk assessments within BOP, he appears to lack

any clinical experience in treating sex offenders, nor does he appear to have any research or

publications in the field.

III.    DEFENDANTS CANNOT BE REQUIRED TO SPEAK TO CHANNELL.

        Even if the Court were to appoint Channell (it should not), defendants cannot be required

to submit to an interview with him. Defendants retain their privacy rights not to cooperate in

medical/psychological evaluations. See Jaffee v. Redmond, 518 U.S. 1, 15 (1996) (recognizing

federal privilege for statements made to psychologist); In Re: Grand Jury Proceedings

(Violette), 183 F.3d 71 (1st Cir. 1999); Commonwealth v. Lamb, 365 Mass. 265, 270 (1974)


                                                  5
         Case 1:07-cv-12056-PBS Document 34 Filed 10/24/07 Page 6 of 7




(defendant must be warned that statements in psychological evaluation for civil commitment are

not privileged). In addition, defendants have a Fifth Amendment right not to make any

statements that could incriminate them. See Lefkowitz v. Turley, 414 U.S. 70, 77 (1973) (Fifth

Amendment “not only protects the individual against being involuntarily called as a witness

against himself in a criminal prosecution but also privileges him not to answer official questions

put to him in any other proceeding, civil or criminal, formal or informal, where the answers

might incriminate him in future criminal proceedings.”). Even, for example, statements about

conduct underlying prior convictions could place defendants in jeopardy of penalty

enhancements in future criminal proceedings.

       For the foregoing reasons, the government’s motion should be DENIED.

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                                                 6
          Case 1:07-cv-12056-PBS Document 34 Filed 10/24/07 Page 7 of 7




                                  CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non registered participants on October 24,
2007.
                                                         /s/ Page Kelley
                                                        Page Kelley




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